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EXHIBIT 13

Transcripts of Proceedings — 07/18/2018
(Maggiore v. MGM Resorts, et. al.)

 
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vs.

MGM RESORTS,

ARIANA SERNA MAGGIORE,

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

HONORABLE JOHN A. KRONSTADT

UNITED STATES DISTRICT JUDGE PRESIDING

PLAINTIFF,
CV18-05640-JAK
CV18-05570-JAK
ET AL., CV18-05564-JAK
DEFENDANTS.

 

- AND RELATED MATTERS —

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REPORTER'S TRANSCRIPT OF PROCEEDINGS

LOS ANGELES, CALIFORNIA

TUESDAY, JULY 18, 2018; 1:30 PM

 

 

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APPEARANCES OF COUNSEL:

 

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FOR DEFENDANTS:

 

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LOS ANGELES, CALIFORNIA; TUESDAY, JULY 18, 2018

1:30 PM

THE COURT: ITEM NO. 15, CV18-05640, ARIANA
SERNA MAGGIORE V. MGM RESORTS; ITEM NO. 16, CV18-05570,
SUSAN PEREDA V. MGM RESORTS; AND ITEM NO. 17,
CV18-05564, OLGA RAMIREZ V. MGM RESORTS.
WOULD YOU STATE YOUR APPEARANCES, PLEASE,
STARTING WITH PLAINTIFF'S COUNSEL AND STATE THE CASE ON
WHICH YOU ARE APPEARING, PLEASE.
MR. KANNE: GOOD AFTERNOON, YOUR HONOR. CHRIS
KANNE FOR PLAINTIFF OLGA RAMIREZ.
MR. CHAMBERS: GOOD AFTERNOON, YOUR HONOR.
GARY CHAMBERS ON BEHALF OF PLAINTIFF SUSAN PEREDA.
THE COURT: GOOD AFTERNOON.
BY TELEPHONE?
MR. KLAGER: GOOD AFTERNOON, YOUR HONOR. THIS
IS BRAD KLAGER. I HAVE A PENDING MOTION TO APPEAR PRO
HAC VICE FOR ARIANA SERNA MAGGIORE.
THE COURT: AND FOR THE DEFENDANTS?
MR. BRIAN: YOUR HONOR, BRAD BRIAN, MIKE DOYEN
AND BETHANY KRISTOVICH FROM MUNGER TOLLES AND OLSON FOR

THE MGM DEFENDANTS.

 

 

 
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ALSO WITH ME IN THE COURTROOM IS MY
PARTNER, JOHN GILDERSLEEVE. AND ALSO ONE OUR SUMMER
ASSOCIATES I WANTED TO INTRODUCE TO THE COURT, BRIAN
BOSNECKER (PHONETIC) FROM A CHICAGO LAW SCHOOL WHO IS
GOING TO BE CLERKING FOR YOUR COLLEAGUE JUDGE STEPH
WILSON NEXT YEAR.
THE COURT: GOOD AFTERNOON.
MR. FINE: GOOD AFTERNOON, YOUR HONOR. PAUL
FINE, MIKE SCHONBUCH AND GERONIMO PEREZ AND MARY FERSCH
FOR DEFENDANT LIVE NATION.
THE COURT: GOOD AFTERNOON.
ANY OTHERS APPEARANCE?
OKAY. PLEASE BE SEATED.
MS. SUMMERS: GOOD AFTERNOON, YOUR HONOR.
KELLIAN SUMMERS, CO-COUNSEL FOR LIVE NATION.
THE COURT: BEFORE WE PROCEED FURTHER, I WANT
TO DISCLOSE, MS. KRISTOVICH IS ONE OF THE COUNSEL
THAT'S BEEN IDENTIFIED. AND I KNOW MS. KRISTOVICH
BECAUSE SHE'S THE SPOUSE OF A PERSON I HAVE KNOWN,
STEVE KRISTOVICH, FOR A LONG TIME.
WE DON'T HAVE A -- OUR RELATIONSHIP IS
LIMITED TO THAT, BUT I WANTED TO MENTION THAT IN CASE
THAT RAISES AN ISSUE FOR ANY OF THE PLAINTIFF'S

COUNSEL.

AND IF YOU WISH TO CONFER WITH YOUR

 

 

 
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RESPECTIVE CLIENTS ABOUT THAT, YOU CAN. I JUST WANTED
TO RAISE IT AT THIS POINT.

I KNOW MR. BRIAN PROFESSIONALLY, BUT
NOT IN THE SAME -- IN QUITE THE SAME WAY. I HAVE NEVER
BEEN TO HIS HOME, AND HE HAS NEVER BEEN TO MINE, FOR
EXAMPLE. AT LEAST I DON'T THINK SO.

DO YOU THINK THAT PRESENTS --

MR. CHAMBERS: THANK YOU, YOUR HONOR. WE
APPRECIATE THE DISCLOSURE. BUT, AT THIS TIME, IT
DOESN'T PRESENT ANY ISSUE TO OUR PLAINTIFF.

THE COURT: IT'S WITHOUT PREJUDICE TO YOUR
CONFERRING, OF COURSE.

MR. KANNE: THANK YOU, YOUR HONOR. SAME AS
MR. CHAMBERS.

THE COURT: THANK YOU.

MR. KLAGER?

MR. KLAGER: I HAVE NO OBJECTION.

THE COURT: OKAY.

AGAIN, IF, AFTER CONFERRING WITH YOUR
RESPECTIVE CLIENTS, YOU THINK IT RAISES AN ISSUE, LET

ME KNOW, PLEASE.

THE JOINT REPORT, IT SAID YOU WOULD BE FILING A MOTION
TO DISMISS WITH LEAVE TO REFILE ELSEWHERE BY LAST

FRIDAY, BUT I DON'T SEE ONE ON THE DOCKET.

 

NOW, IN THE RAMIREZ MATTER, MR. KANNE, IN

 

 
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WAS ONE FILED?
MR. CHAMBERS: THAT IS CORRECT. THAT WAS IN
OUR STATEMENT.
OUR HOPE WAS WE COULD CONTINUE OUR MEET
AND CONFER EFFORTS AND REACH A STIPULATION.
UNFORTUNATELY, WE HAVEN'T REACHED THAT
STIPULATION AT THIS TIME.
BUT WHEN I PUT THAT DATE IN OUR REPORT, I
WAS STILL CONFIDENT THAT A STIPULATION WOULD
POTENTIALLY BE REACHED. SO WE HAVE NOT FILED IT YET,
BUT WE'RE STILL PLANNING ON FILING IT THIS WEEK.
THE COURT: HAVE YOUR DISCUSSIONS WITH THE
DEFENDANTS ENDED?
MR. CONNIE: UNFORTUNATELY, ON THAT PARTICULAR
ISSUE, I BELIEVE THEY HAVE.
MR. BRIAN: THEY HAVE ENDED, YOUR HONOR. I
CAN EXPLAIN THAT, IF YOUR HONOR NEEDS EXPLANATION?
THE COURT: NOT YET.
THERE IS A MOTION PENDING IN THE PEREDA
MATTER; CORRECT?
IT WAS FILED --
MR. CHAMBERS: YES, YOUR HONOR.
THE COURT: WELL, THERE'S A MOTION TO REMAND
IN MAGGIORE.

THERE'S A MOTION TO DISMISS WITH LEAVE TO

 

 
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REFILE IN PEREDA.
AND THERE'S A MOTION THAT IS EXPECTED IN
RAMIREZ.
IS THAT RIGHT?
MS. KRISTOVICH: THERE ARE TWO ISSUES HERE.
THERE ARE MOTIONS TO DISMISS AND A MOTION FOR JUDGMENT
ON THE PLEADINGS FILED BY DEFENDANT. AND THEN THERE
ARE ALSO THE PLAINTIFFS’ SIDE.
THE COURT: NO, I UNDERSTAND, BUT -- OKAY.
WELL, WHAT I HAVE IN MIND -- AND THEN,
LAST FRIDAY, THE -- ANOTHER ACTION WAS BROUGHT,
cvi8-6113.
HAS THAT BEEN SERVED?
MR. BRIAN: IT HAS NOT BEEN SERVED YET, YOUR
HONOR.
THE COURT: OKAY. AND ARE PLAINTIFF'S COUNSEL
HERE AWARE OF THE FILING OF THAT ACTION?
MR. KANNE: I FOUND OUT THIS MORNING ON MPR.
SO I DON'T HAVE ANY NOTICE OF ANY OF THE ISSUES OR WHAT
THE COMPLAINT ACTUALLY SAYS.
THE COURT: OKAY. WELL, THE PLAINTIFFS HERE
ARE NOT NAMED AS DEFENDANTS IN THIS DECLARATORY RELIEF
ACTION; CORRECT, MR. BRIAN?
MR. BRIAN: THEY ARE NOT, YOUR HONOR.

THE COURT: BECAUSE THOSE ISSUES ARE ALREADY

 

 
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PRESENTED IN THE COUNTER-CLAIMS; CORRECT?
MR. BRIAN: THAT'S CORRECT.
THE COURT: OKAY. WELL, LET ME TALK ABOUT THE
ONE -- THE CASES THAT ARE PRESENTLY HERE.
IF -- AND I HAVE NO VIEW ON THIS YET
BECAUSE ONE MOTION TO DISMISS IN THE RAMIREZ MATTER
HASN'T BEEN FILED. THE OTHER MOTION HASN'T BEEN FULLY
BRIEFED.
BUT IF THE MOTIONS TO DISMISS IN PEREDA
AND RAMIREZ WERE GRANTED, THEN THE ONLY REMAINING
MATTER WOULD BE IN THE MAGGIORE MATTER.
AND IF THE MOTION TO REMAND IS GRANTED IN
THAT MATTER, THEN THERE WOULD BE NO MATTERS OF THESE
THREE PENDING, I BELIEVE.
DO YOU AGREE WITH THAT, MR. BRIAN?
MR. BRIAN: I DO, YOUR HONOR.
THE FUNDAMENTAL ISSUE, OF COURSE, IS
WHETHER THERE'S EXCLUSIVE FEDERAL JURISDICTION.
THE COURT: I UNDERSTAND.
AND THE MOTION TO DISMISS, TO WHICH
MS. KRISTOVICH REFERRED, I THINK IS, IN PART, THAT THE
NEGLIGENCE CAUSE OF ACTION IS NOT ADEQUATELY PLEADED;
CORRECT?
MR. BRIAN: YES. WE HAD RAISED ISSUES OF DUTY

AND CAUSATION, YOUR HONOR.

 

 
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THE COURT: OKAY. AND -- JUST A MINUTE.

IS A REQUEST FOR MDL LITIGATION STILL
PENDING?

MR. BRIAN: WE HAVE NOT YET FILED. WE
ANTICIPATE FILING A MOTION FOR MDL LITIGATION IN SHORT
ORDER, PERHAPS AS EARLY AS THIS WEEK.

THE COURT: OKAY. IF YOU ANTICIPATE BRINGING
AN MDL MOTION, HOW WOULD THAT, IN YOUR VIEW, AFFECT --
MR. BRIAN, HOW WOULD THAT AFFECT THE RECENTLY-FILED
ACTION AGAINST THE INDIVIDUAL PARTIES FOR DECLARATORY
RELIEF?

MR. BRIAN: THOSE WOULD BE THE SUBJECT OF --
THAT AND OTHER LAWSUITS WOULD BE THE SUBJECT OF THE MDL
MOTION, AS WOULD THESE THREE ACTIONS HERE.

THE COURT: OKAY. AND LET ME ASK YOU A --

MR. BRIAN: AND JUST IN FULL DISCLOSURE, WE
ANTICIPATE THERE MAY BE ADDITIONAL DECLARATORY RELIEF
ACTIONS FILED VERY SOON.

THE COURT: IN OTHER STATES?

MR. BRIAN: PERHAPS. AND PERHAPS ANOTHER ONE
HERE.

THE COURT: THE DECLARATORY RELIEF ACTION
THAT'S BEEN FILED AS OF NOW, THE 6113 CASE, ARE ALL OF
THE DEFENDANTS CALIFORNIA CITIZENS OR YOU BELIEVE ARE

CALIFORNIA CITIZENS?

 

 
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MR. BRIAN: WE BELIEVE ALL OF THEM ARE
CALIFORNIA RESIDENTS. AND THAT'S WHAT WE BASED THE
LAWSUIT ON. WE SPENT TIME TRYING TO DETERMINE THAT;
BUT, YES, WE HAVE MADE THAT DETERMINATION.

THE COURT: DO ALL -- DO YOU THINK -- DO ALL
RESIDE WITHIN THIS DISTRICT?

MR. BRIAN: I'M GOING TO DEFER TO
MS. KRISTOVICH ON THAT QUESTION, YOUR HONOR.

MS. KRISTOVICH: YOUR HONOR, WE DON'T HAVE
PERFECT VISIBILITY. WE KNOW THAT AT LEAST MANY OF THEM
RESIDE WITHIN THIS DISTRICT. SO WE THINK VENUE IS
PROPER FOR THAT REASON.

THE COURT: AS TO THOSE -- EVEN AS TO THOSE
WHO DON'T RESIDE WITHIN THE DISTRICT?

MS. KRISTOVICH: CORRECT, YOUR HONOR.

OUR RESEARCH SUGGESTS THAT, SO LONG AS
ONE DEFENDANT RESIDES WITHIN THE DISTRICT, VENUE IS
APPROPRIATE.

MR. BRIAN: BUT WE THINK IT'S MANY. WE JUST
CAN'T VERIFY IT'S ALL.

THE COURT: JUST A MINUTE.

AND, MR. BRIAN, WITH RESPECT TO THE ISSUE
UNDER THE SAFETY ACT, WHICH IS RAISED AS PART OF THE
COUNTER-CLAIMS TO WHICH WE'VE REFERRED -- IT MIGHT ALSO

BE AN AFFIRMATIVE DEFENSE. I DON'T KNOW HOW YOU HAVE

 

 
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FRAMED IT. BUT IT'S ALSO A BASIS FOR THE -- I BELIEVE
THE OPPOSITION TO THE MOTION TO REMAND; CORRECT?

MR. BRIAN: CORRECT.

THE COURT: IF THAT ISSUE IS PRESENTED IN A

SINGLE CASE AND DETERMINED, WHY WOULD YOU NEED TO HAVE

800 PLAINTIFFS NAMED IN WHICH THE SAME ISSUE -- 700
MORE PLAINTIFFS NAMED TO -- ON THAT ISSUE?

MR. BRIAN: THERE IS -- THERE MAY BE -- FIRST
OF ALL, THERE MAY WELL BE -- WE BELIEVE THERE'S

DIVERSITY JURISDICTION, AS WELL AS THE SAFETY ACT
JURISDICTION IN THE CASE WE FILED HERE. AND WE THINK
THE COMMON ISSUE OF THE SAFETY ACT APPLIES --

THE COURT: THERE'S DIVERSITY JURISDICTION IN
WHICH CASE?

MR. BRIAN: IN THE DECLARATORY RELIEF ACTION
CASE.

THE COURT: OKAY. BUT WHY WOULD YOU NEED TO
HAVE SEVERAL-HUNDRED DEFENDANTS NAMED TO ADDRESS THE
DECLARATORY RELIEF ISSUE OF THE SAFETY ACT?

MR. BRIAN: I THINK MY COLLEAGUE, MR. DOYEN,
WANTS TO ADDRESS THAT QUESTION.

MR. DOYEN: WE DID LOOK AT THAT, YOUR HONOR.
AND AS THE COURT IS NO DOUBT AWARE, IT'S -- WE HAD
FOUND IT LESS CLEAR WHAT WOULD BE THE COLLATERAL

CONSEQUENCES TO OTHER PEOPLE THAT WEREN'T PARTY TO THE

 

 
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LITIGATION IF WE'RE BOUND BY WHAT HAPPENS TO US BECAUSE
WE HAVE AN OPPORTUNITY TO APPEAR. BUT OTHER DEFENDANTS
WHO WE'VE NAMED WHO ARE NOT IN THIS CASE WOULD HAVE AN
ARGUMENT THAT THEY'RE NOT BOUND BY THAT.

NOW, IT'S POSSIBLE THAT WE'LL HAVE A
DISCUSSION WITH PLAINTIFFS' LAWYERS. THESE ARE ALL
REPRESENTED PARTIES. AND MAYBE WE CAN AGREE ON
SOMETHING THAT WAS MORE EXPEDITIOUS THAN WHAT WE HAVE
FILED SO FAR. BUT I DON'T THINK IT'S CLEAR -- OR AT
LEAST IT WASN'T SUFFICIENTLY CLEAR TO US THAT, IF WE
COME IN AND OBTAIN -- AND WE ARE SUCCESSFUL, THAT THAT
BINDS EVERYBODY ELSE WHOSE IS NOT A PARTY TO THE CASE.

MR. BRIAN: IDEALLY, YOUR HONOR, WE WOULD FILE
AN MDL MOTION. IT WOULD BE GRANTED. AND THIS
DISPOSITIVE ISSUE, WE BELIEVE, WOULD BE DECIDED BY ONE
JUDGE AND WOULD APPLY TO ALL THE CASES.
THE COURT: NO, I UNDERSTAND.

AGAIN, THAT -- YOU'RE NOT -- PLAINTIFF'S
COUNSEL HERE IS NOT REPRESENTING ANY OF THE PROPOSED
DEFENDANTS IN THAT DECLARATORY RELIEF ACTION. BUT I
JUST WANTED TO MAKE SURE I UNDERSTOOD ITS PROCEDURAL
STATUS IN LIGHT OF THE MDL ISSUES.

WELL, MY VIEW IS THIS, THAT THERE ARE A
LOT OF MOVING PARTS HERE. BUT, AT THIS POINT WHERE

IT'S UNKNOWN WHETHER THERE WILL BE AN MDL PROCEEDING,

 

 
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AND I DON'T -- THERE'S BEEN NO ~-- THE DECLARATORY
RELIEF ACTION THAT WE'VE BEEN DISCUSSING HAS JUST BEEN
FILED, AND I DON'T THINK IT'S BEEN SERVED YET,
CERTAINLY NOT ON ALL OF THESE DEFENDANTS. THE ONE
MOTION TO DISMISS HASN'T BEEN FILED YET. THE MOTION
FOR -- TO REMAND IS SCHEDULED FOR HEARING.

THERE'S A LIMITED AMOUNT THAT I CAN DO,
BUT WHAT I HAVE IN MIND ARE THE FOLLOWING DATES:
THERE'S BEEN AN ISSUE PRESENTED CONCERNING WHETHER
DISCOVERY SHOULD BE LIMITED TO NON-SAFETY ISSUES. AND
I'M DISINCLINED TO DO THAT.

I THINK THAT THE -- IT'S CERTAINLY
REASONABLE -- THERE'S CERTAINLY A REASONABLE
PROBABILITY THAT THE DETERMINATION OF THE SAFETY ISSUE,
IF IT'S PRESENTED IN THIS INDIVIDUAL CASE OR THESE
INDIVIDUAL CASES, WOULD REQUIRE, AS YOU HAVE
ACKNOWLEDGED, SOME DISCOVERY AND A MOTION, WHICH WOULD
PERHAPS BE A MOTION FOR SUMMARY JUDGMENT. I'M NOT
PERSUADED THAT IT WOULD BE EFFICIENT TO STAY ALL OTHER
DISCOVERY WHILE THAT DISCOVERY PROCEEDS INSOFAR AS, FOR
EXAMPLE, SOME OF THE SAME INDIVIDUALS MAY BE SUBJECT TO
DEPOSITIONS IN BOTH THE SAFETY ISSUE AND THE NON-SAFETY
ISSUE. AND SO I'M DISINCLINED TO DO THAT.

MR. BRIAN: CAN I OFFER SOME --

THE COURT: SECOND, HAVE THERE BEEN ANY

 

 
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DISCUSSIONS ABOUT COORDINATING DISCOVERY AMONG THE
PRESENTLY-FILED CASES IN DIFFERENT DISTRICTS?

MR. BRIAN: NOT IN ANY FORMAL SENSE, YOUR
HONOR.

WE ARE STRONGLY OF THE VIEW THAT THERE

WILL NEED TO BE COORDINATION REGARDLESS OF WHETHER
THERE'S AN MDL.

THE COURT: I AGREE.

DO YOU HAVE ANY ISSUES WITH THAT?
MR. KANNE: NO, YOUR HONOR.
| MR. CHAMBERS: NO, YOUR HONOR.

MR. BRIAN: NO REMAND MOTION HAS BEEN FILED
YET, I BELIEVE, IN THE MAGGIORE CASE. I THINK IT'S
CONTEMPLATED. THEY INDICATED THEY PLAN TO; BUT I DON'T
BELIEVE THAT WE'VE SEEN ONE FILED, UNLESS I'VE MISSED
IT.

THE COURT: HAVE YOU FILED THAT MOTION?

MR. KANNE: NO. THERE'S NO MOTION TO REMAND.
IT'S A MOTION TO DISMISS WITHOUT PREJUDICE THAT'S BEEN
FILED. IT WAS FILED LAST FRIDAY, JULY 13TH.

THE COURT: IN MAGGIORE, YOU DON'T PLAN TO
FILE A MOTION TO REMAND?

MR. CHAMBERS: NO, I'M ON PEREDA. THAT'S BEEN
FILED.

BUT MAGGIORE MIGHT HAVE FILED A MOTION TO

 

 
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REMAND. I DON'T KNOW.
MR. KLAGER: THE REMAND MOTION IS NOT YET DUE
IN MAGGIORE. IT IS DUE JULY 26TH. AND IT'LL BE FILED
SOMETIME ON JULY 26 OR BEFORE.
THE COURT: OKAY.
MR. BRIAN: WE DO THINK -- ONE OF THE REASONS
WE HAVE PROPOSED THE LIMITING DISCOVERY, WE THINK THE
REMAND MOTION -- WE DON'T THINK THE MOTIONS TO DISMISS,
WE DON'T THINK THAT'S PROCEDURALLY PROPER BECAUSE OF
THE ISSUE OF EXCLUSIVE JURISDICTION.
THE ISSUE ON THE REMAND MOTION WILL BE
WHETHER OR NOT THE COURT HAS EXCLUSIVE JURISDICTION,
WHICH IS ONE OF THE REASONS WE BELIEVE THAT THE
DISCOVERY SHOULD BE LIMITED TO THOSE ISSUES. THERE MAY
WELL BE FACTUAL ISSUES THAT BEAR ON THAT.
THE COURT: OKAY. WELL, I UNDERSTAND.
BUT, AT THIS POINT, I'M NOT PERSUADED
THAT THE ONLY DISCOVERY SHOULD BE CONCERNING THE
SAFETY. I DON'T KNOW ENOUGH ABOUT IT YET.
AND I THINK THAT TO THE EXTENT -- I THINK
A MORE APPROPRIATE APPROACH IS, NOT TO SO LIMIT
DISCOVERY IF -- AND, AGAIN, THERE ARE A LOT OF MOVING
PARTS HERE.
MR. BRIAN: THE ONLY THING I WOULD SAY, YOUR

HONOR, IS, MY UNDERSTANDING IS THE PLAINTIFFS EITHER

 

 
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HAVE DISMISSED OR INTEND TO DISMISS LIVE NATION/CSC.

IF WE'RE THEN CORRECT UNDER THE SAFETY
ACT, THERE WILL BE NO CASE AGAINST ANY OF THE
DEFENDANTS IN THIS COURTROOM, WHICH IS WHY WE THINK
SUCH DISCOVERY SHOULD BE SO LIMITED. BUT I'M STRIKING
OUT ON THAT ONE, SO I'LL MOVE ON.

THE COURT: I'M JUST NOT PERSUADED THAT, BASED
ON THE LIMITED AMOUNT THAT'S BEEN PRESENTED AT THIS
POINT, THAT ALL DISCOVERY SHOULD BE STAYED ON THAT ONE
ISSUE. I JUST -- LIMITED TO THAT ONE ISSUE.

AND, AMONG OTHER THINGS, FOR EXAMPLE, DO
YOU CONTEND THAT NONE OF THE DISCOVERY THAT WOULD BE
CONDUCTED WITH RESPECT TO THE SAFETY ISSUES WOULD BEAR
ON THE NON-SAFETY ISSUES?

MR. BRIAN: NO. THERE IS PROBABLY SOME
DISCOVERY THAT WOULD BEAR ON THE SAFETY ISSUES THAT
WOULD BE RELEVANT TO THE UNDERLYING FACTUAL AND LEGAL
ISSUES IN THE CASE. I AGREE WITH THAT.

THE COURT: WHAT'S -- DO YOU DISAGREE WITH
THAT?

MR. KANNE: NO, I DON'T DISAGREE, YOUR HONOR.

THE COURT: LET ME ASK -- WELL, JUST A MINUTE.

MR. CHAMBERS, MR. KANNE AND MR.
KLAGER, LET ME ASK YOUR RESPECTIVE VIEWS ON THIS:

DOES IT MAKE SENSE FOR ME TO SET DATES

 

 
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TODAY, OR DOES IT MAKE SENSE TO WAIT SOME TIME TO
DETERMINE WHAT WILL HAPPEN ON THE MDL FRONT AND/OR ON
THE SEPARATELY-FILED DECLARATORY RELIEF ACTION, WHICH
MR. BRIAN SAID WOULD BE AN ELEMENT OF AN MDL
APPLICATION?

MR. CHAMBERS: YOUR HONOR, FROM PLAINTIFF'S
PERSPECTIVE, WE BELIEVE IT WOULD BE APPROPRIATE TO WAIT
AT THIS TIME. |

WE'RE ALSO WAITING ON THE DISTRICT COURT
IN NEVADA'S RULING ON THE MOTION TO REMAND.

AND AT THIS TIME, TO -- FROM PLAINTIFF'S
PERSPECTIVE, IT JUST MAKES A LOT MORE SENSE FOR US TO
WAIT AT THIS TIME.

MR. KANNE: I WOULD AGREE WITH THAT, YOUR
HONOR. WE HAVE THE MOTION TO DISMISS AND THE MOTION
FOR JUDGMENT ON THE PLEADINGS THAT ARE ALREADY GOING TO
BE HEARD ON OCTOBER 1ST. WE THINK IT MAY BE AFTER THAT
WE CAN TALK ABOUT DATES, WHATEVER THE DETERMINATION IS.

THE COURT: MR. KLAGER WHAT'S YOUR VIEW?

MR. KLAGER: YOUR HONOR, MAY I PRESUME THAT —-—
I'M NOT CLEAR ON WHETHER YOU HAVE TAKEN UP THE PRO HAC
VICE APPLICATION. I --

THE COURT: I HAVEN'T TAKEN UP THE PRO HAC
VICE APPLICATION. IT NEEDS TO BE PROPERLY FILED AND

CONSIDERED AND RULED ON.

 

 
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I'M ALLOWING YOU TO APPEAR TODAY
TELEPHONICALLY NOTWITHSTANDING THAT THAT APPLICATION
HAS NOT YET BEEN APPROVED.

MR. KLAGER: WELL, I JUST WANT TO MAKE SURE I
DON'T DO ANYTHING THAT I'M NOT AUTHORIZED TO DO.

SO IT'S MY UNDERSTANDING YOU HAVE NOT
GIVEN ME PERMISSION TO APPEAR FOR MS. MAGGIORE?

THE COURT: IF YOU DON'T WANT TO APPEAR, IT'S
FINE BECAUSE --

MR. KLAGER: I DO. I JUST DON'T WANT TO --
BUT I'M NOT GOING TO STATE ANY OBJECTIONS AT THIS
POINT.

THE COURT: OKAY. WELL, THEN WHY -- I TAKE IT
THEN YOUR REQUEST TO APPEAR TELEPHONICALLY WAS JUST TO
OBSERVE THE -- OR LISTEN TO THE HEARING, NOT
PARTICIPATE IN IT?

MR. KLAGER: WELL, I HAVE -- I DO HAVE A --
THE APPLICATION ON FILE. AND I WAS HOPING THAT —--

THE COURT: I DON'T HANDLE ORAL MOTIONS.
THOSE ARE HANDLED THROUGH THE NORMAL PROCEDURAL
PROCESS. AND THIS ONE WILL BE PROCESSED IN DUE COURSE.

MR. KLAGER: THANK YOU, YOUR HONOR.

WELL, TO THE EXTENT THAT YOU ARE
PERMITTING ME TO APPEAR AND ANSWER, I'M NOT -- I THINK

THAT THE DEADLINE ISSUES ARE HOPEFULLY RESOLVED BY THE

 

 
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MOTION TO REMAND. AND I'M NOT SURE THE CASES ARE GOING
TO BE -- HOW THEY WOULD BE CONSOLIDATED, IF THEY END UP
BEING CONSOLIDATED. BUT I COULD IMAGINE THAT COULD
HAPPEN AT A LATER TIME.
THE COURT: THANK YOU.
DO YOU WANT TO ADD ANYTHING?
MR. KANNE: NO, YOUR HONOR.
THE COURT: MR. BRIAN?
MR. BRIAN: WE HAVE NO OBJECTION TO POSTPONING
SETTING THE DATES, YOUR HONOR.
THE COURT: OKAY.
MR. BRIAN: I DO HAVE ONE REQUEST AT SOME
POINT AS TO THE DATE OF THE HEARING THAT'S BEEN
SCHEDULED. YOUR HONOR PICKED OCTOBER 1ST. THAT
HAPPENS TO BE THE ONE-YEAR ANNIVERSARY OF THE HORRIFIC
EVENT THAT LED US HERE TODAY.
I DON'T KNOW EXACTLY WHAT'S BEING PLANNED
FOR THAT DAY, BUT I KNOW THERE'S GOING TO BE THINGS
PLANNED THAT ARE GOING TO OCCUPY OUR CLIENT. AND IF IT
WORKED FOR THE COURT AND COUNSEL, IF THE COURT WOULD BE
WILLING TO MOVE THAT A WEEK OR TWO BEFORE OR AFTER, I
WOULD JUST ASK THE COURT'S INDULGENCE.
THE COURT: JUST A MINUTE.
DO YOU BXPECT A CLIENT REPRESENTATIVE TO

BE PRESENT AT THE HEARING?

 

 
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MR. BRIAN: I DON'T KNOW. BUT ON THAT MOTION,
I WOULD ACTUALLY EXPECT THAT SOME MEMBER OF THE LAW
DEPARTMENT WOULD BE AT THE MOTION.

BUT IT'S BEYOND THAT, YOUR HONOR. IT'S

GOING TO BE A VERY EMOTIONAL DAY FOR MY CLIENTS.

THE COURT: OKAY. THANK YOU.

MR. BRIAN, DO YOU HAVE A TIME ESTIMATE AS

TO WHEN -- ASSUMING THAT YOU FILE, AS YOU STATED,
WITHIN THE RELATIVELY SHORT TIME FRAME, THE APPLICATION
ON THE MDL SIDE, DO YOU HAVE ANY ESTIMATE OF WHEN THAT
WOULD BE DECIDED?

MS. KRISTOVICH: YOUR HONOR, MOST OF OUR
RESEARCH SUGGESTS THAT THE MDL PETITIONS ARE USUALLY
DECIDED WITHIN TWO TO THREE MONTHS OF BEING FILED.

THE COURT: AND THE EXPECTED DATE OF FILING IS
WITHIN TWO WEEKS?

MR. BRIAN: I THINK IT'S WITHIN A WEEK. WE
HOPE TO FILE THIS WEEK.

THE COURT: IF THAT OCCURS, YOU WOULD EXPECT A
RESPONSE BY OCTOBER?

MR. BRIAN: I THINK THAT SOUNDS ABOUT RIGHT,
BY MY MATH.

MS. KRISTOVICH: YES, YOUR HONOR. AGAIN, IT'S
NOT PRECISE, BUT THAT'S ROUGHLY.

THE COURT: DO YOU HAVE ANY VIEW ON THIS?

 

 
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MR. KANNE: NO, YOUR HONOR.
MR. CHAMBERS: NO, YOUR HONOR.
THE COURT: OKAY. JUST A MINUTE.
MY VIEW Is, AGAIN, WE DON'T KNOW
PRECISELY WHEN THE MDL DECISION WOULD BE MADE. BUT I
THINK THERE WOULD BE VALUE IN HAVING THAT INFORMATION
IN CONNECTION WITH THE OTHER MOTIONS THAT ARE PENDING.
THE MOTIONS -- FOR EXAMPLE, THE MOTIONS
TO DISMISS WITH LEAVE TO AMEND TO FILE IN NEVADA COULD
BE AFFECTED BY WHAT HAPPENS ON THE MDL SIDE.
DO YOU AGREE WITH THAT?
MR. KANNE: I DON'T THINK -- WELL, I DISAGREE
JUST A LITTLE BIT IN TERMS OF, I THINK THE NEVADA COURT
IS THE RIGHT COURT TO BE HEARD IN. AND I DON'T KNOW IF
THERE'S -- I THINK THERE'S A MOTION TO REMAND RIGHT NOW
IN THAT COURT.
BUT I WOULD CONCUR THAT THE MDL -- THE
MOTION TO DISMISS WILL BE AFFECTED BY THE MDL.
THE COURT: WHAT IS YOUR VIEW ON THAT?
MR. CHAMBERS: I'M WITH HIM, YOUR HONOR.
THE COURT: OKAY. MR. BRIAN, YOU AGREE WITH
THAT?
MR. BRIAN: I DO, YOUR HONOR.
THE COURT: SO I THINK WHAT I'LL DO AT THIS

POINT IS THE FOLLOWING:

 

 

 
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I'LL SET -- I THINK IT'S ALSO VALUABLE TO
HAVE ALL THESE HEARINGS AT THE SAME TIME. IT'S MORE
EFFICIENT. SO I'LL RESET THEM ALL. INSTEAD OF OCTOBER
1, I'D RESET THEM ALL FOR OCTOBER 29.
BUT I'D LIKE THE BRIEFING DONE ON A MORE
ACCELERATED BASIS GIVEN THE NUMBER OF MOTIONS. I DON'T
WANT TO GET ALL THE REPLY BRIEFS AT THE SAME TIME. SO
PERHAPS YOU CAN -- WELL --
MR. BRIAN: CAN WE MEET AND CONFER AND PROPOSE
A SCHEDULE?
HOW LONG BEFORE THE HEARINGS WOULD YOU
LIKE TO RECEIVE THE REPLY BRIEFS?
THE COURT: WELL, IDEALLY, IF WE ARE -- I'D
LIKE TO RECEIVE THEM FOUR WEEKS BEFORE.
MR. BRIAN: WE WILL NEGOTIATE A SCHEDULE
CONSISTENT WITH THAT.
THE COURT: DOES THAT WORK?
MR. KANNE: YES, YOUR HONOR.
MR. CHAMBERS: YES, YOUR HONOR.
THE COURT: MR. KLAGER, ANYTHING ON THAT
ISSUE?
MR. KLAGER: NO, YOUR HONOR.
THE COURT: OKAY. CONFER ABOUT THAT AND
SUBMIT A PROPOSED ORDER.

I DON'T WANT TO IMPOSE UNDUE BURDENS ON

 

 
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THE PARTIES IN TERMS OF THIS BRIEFING. BUT GIVEN THE
CURRENT DATE WAS OCTOBER 1, I WAS THINKING IT MIGHT NOT
BE TOO BURDENSOME TO GET THIS DONE EARLIER SO I CAN
HAVE THOSE BRIEFS IN ADVANCE.
I WOULD ALSO, MR. BRIAN, LIKE THE MGM
TO -- AFTER THE MOTION IS FILED ON THE MDL SIDE, I
WOULD LIKE YOU TO FILE A NOTICE HERE OF THE FILING OF
THAT MOTION.
AND THEN I'D LIKE YOU TO FILE A STATUS
REPORT EVERY 30 DAYS JUST AS TO THE -- WHAT, IF ANY,
DEVELOPMENTS THERE HAVE BEEN WITH RESPECT TO THAT
MOTION. NOTHING DETAILED, JUST WHERE THINGS STAND.
AND THEN WITHIN SEVEN DAYS OF A DECISION
ON THAT MOTION, PLEASE FILE A NOTICE OF THAT. NOT TO
SAY EVERYONE WOULDN'T HAVE SEEN IT IN THE DOCKET AND SO
ON, BUT IT WOULD BE HELPFUL.
MS. KRISTOVICH: YES, YOUR HONOR.
THE COURT: OKAY. IS THERE ANYTHING OTHER
DEFENSE COUNSEL WANTED TO RAISE ON THESE ISSUES?
MR. FINE: YOUR HONOR, ON BEHALF OF LIVE
NATION, WE WOULD ASK THAT DISCOVERY BE STAYED UNTIL THE
RULING ON THE MDL MOTION BECAUSE WE NEED TO COORDINATE
WITH LOTS OF FIRMS, LOTS OF PLAINTIFFS.
THE COURT: WHAT ARE YOUR VIEWS ON THAT?

MR. KANNE: I THINK THAT -- I MEAN, I WOULD

 

 
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REQUEST THAT IT WASN'T STAYED. THAT WE START DISCOVERY
JUST SO THAT WE CAN START PREPARING BECAUSE I KNOW
THERE'S MOTIONS FOR SUMMARY JUDGMENTS COMING.
ESPECIALLY WITH THE SAFETY ACT, I WOULD REQUEST THAT
THE DISCOVERY IS OPEN.

MR. BRIAN: WE WOULD CONCUR IN LIVE NATION'S
REQUEST, YOUR HONOR. I THINK IT MAKES SENSE BECAUSE
THERE'S GOING TO BE THE NEED FOR EXTENSIVE COORDINATION
ON ALL THESE MATTERS.

THE COURT: I THINK THERE WOULD BE A LOT OF
COORDINATION.

AT THE SAME TIME, IN TERMS OF DOCUMENTARY

DISCOVERY, WOULD THAT BE MATERIALLY DIFFERENT FROM CASE
TO CASE IN TERMS OF THE DOCUMENTS THAT THE DEFENDANT
WOULD BE PRODUCING?

MR. FINE: YOUR HONOR, I DON'T BELIEVE SO,
EXCEPT THAT THERE'S -- THESE ARE SECURITY PLANS, AND
THEY'RE HIGHLY CONFIDENTIAL. THEY CAN'T JUST BE
FLOATING AROUND IN THE --

THE COURT: I UNDERSTAND THAT. THAT'S A
PROTECTIVE ORDER ISSUE.

I THINK THE QUESTION IS, WHAT -- IT'S NOT

SO MUCH AS, YOU'RE OBLIGATED TO PRODUCE DOCUMENTS
STARTING TOMORROW. I DON'T THINK THERE ARE ANY

REQUESTS PENDING. INDEED, SOME OF THE PLAINTIFFS ARE

 

 
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SEEKING TO HAVE THE CASE DISMISSED. SO, PRESUMABLY,
YOU WOULD NOT BE SEEKING DISCOVERY, AT LEAST INITIALLY,
OR IF A PLAINTIFF IS SEEKING -- WELL, WHATEVER.
MR. BRIAN: THE PROBLEM WE FACE, OF COURSE,
AND I THINK WHAT COUNSEL WAS REALLY ALLUDING TO, IS
THAT WE GET DOCUMENTS FROM COUNSEL HERE. AND WE GO
THROUGH MILLIONS OF PAGES OF DOCUMENTS. AND THEN WE'RE
GOING TO GET A SLIGHTLY DIFFERENT REQUEST. AND WE
DON'T QUITE START OVER, BUT WE KIND OF START OVER.
THE COURT: WELL, I UNDERSTAND.

I THINK -~ DO YOU HAVE A VIEW -- WELL, I
THINK YOU'VE GOT TO BE PRACTICAL HERE. THERE'S A LOT
OF BALLS IN MOTION. AND I THINK THAT IT DOES MAKE
SENSE TO TRY TO COORDINATE DISCOVERY DEPENDING ON HOW
THIS LITIGATION IS GOING TO PROCEED. IS THERE GOING TO
BE A SUPERIOR COURT PROCEEDING? IS THERE GOING TO BE A
FEDERAL COURT PROCEEDING? ARE THERE GOING TO BE
MULTIPLE FEDERAL COURT PROCEEDINGS?

BUT IN ANY OF THESE SCENARIOS, I BELIEVE
YOU'RE GOING TO -- IT'LL MAKE SENSE TO HAVE SOME
COORDINATION OF DISCOVERY.

SO, FOR EXAMPLE, IF A DEFENDANT'S
30(B) (6) WITNESS IS BEING PRODUCED IN ONE CASE, WOULD
THAT APPLY TO OTHERS?

AND WHAT'S THE MOST EFFICIENT WAY TO GO

 

 
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ABOUT THAT?
BUT PUTTING THAT ASIDE, JUST IN TERMS OF
GATHERING DOCUMENTS AND -- I MEAN, THAT WOULD SEEM TO
ME SOMETHING YOU ARE GOING TO HAVE TO DO NO MATTER
WHAT. I'M NOT TALKING ABOUT PRODUCING THEM. I'M
TALKING ABOUT STARTING THE PROCESS. I WOULD IMAGINE
YOU WOULD HAVE ALREADY THOUGHT ABOUT THAT.
MR. FINE: WE ARE GATHERING THEM, YOUR HONOR.
THE ISSUE REALLY IS, ARE THEY NECESSARY
FOR THE MOTION TO REMAND? AND THEY'RE NOT.
IF THAT MOTION WERE TO BE GRANTED, THE
PLAINTIFF DOESN'T NEED ANY DOCUMENTS NOW.
MR. BRIAN: THE WAY ALL THIS WORKS THESE
DAYS -- ALTHOUGH I'M PROBABLY THE LEAST KNOWLEDGEABLE
ELECTRONICALLY. BUT MUCH OF THIS IS DONE WITH SEARCH
TERMS AND DATABASES. AND WE'D LIKE TO DO IT ONCE.
IT'S GOING TO BE A MAMMOTH TASK ONCE WE DO IT.
THE COURT: WHAT ARE YOUR VIEWS ON THIS?
MR. KANNE: IF IT -- IT MIGHT BE SMARTER FOR
THE MDL -- TO HAVE THAT DECIDED BECAUSE IT WILL BE A
HUGE DATABASE ON A COMPUTER IN TERMS OF THE DOCUMENTS.
AND I WOULD REQUEST IT STAYED OPEN IN CASE WE WANTED TO
START SENDING OUT DISCOVERY, BUT I UNDERSTAND THEIR
CONCERNS.

MR. CHAMBERS: I'M ALL ABOUT THE PRACTICAL

 

 
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APPROACH, WHATEVER IS THE MOST EFFICIENT APPROACH. SO
WE HAVE NO OBJECTION THERE.

THE COURT: MR. KLAGER, ANY INPUT ON THIS
ISSUE?

MR. KLAGER: NO, YOUR HONOR. I DO ANTICIPATE
THERE WILL BE SOME CONSOLIDATION OF DISCOVERY. THAT
SEEMS LIKELY.

THE COURT: I THINK THERE'S A GENERAL
CONSENSUS THAT I WOULD DEFER SETTING DATES,
NOTWITHSTANDING THAT I -- BASED ON REVIEWING YOUR
PLEADINGS TO THIS POINT, I HAD SOME IDEAS ABOUT THAT.

BUT IF I'M GOING TO DEFER SETTING DATES
UNTIL THE HEARING IN OCTOBER, I THINK THAT EVERYONE
WILL KNOW A LOT MORE BY THEN ABOUT THE RELATIONSHIP
AMONG THE CASES HERE -- THAT ARE PRESENTLY HERE IN THE
CENTRAL DISTRICT AND THOSE IN OTHER DISTRICTS, THE MDL
PROCESS AND A MEANS OF COORDINATING THE DISCOVERY.

AT THE SAME TIME, I THINK THAT ALL
PARTIES SHOULD BE - CONSISTENT WITH YOUR OBLIGATIONS
UNDER RULE 26 AND RULE 16 AND GENERAL CONCEPTS OF
HAVING TO MAINTAIN AND PRESERVE DOCUMENTS - INVOLVED IN
THAT PROCESS. SO THAT I DON'T HEAR IN OCTOBER, WELL,
IT'LL TAKE US A FEW MONTHS TO DETERMINE WHAT DOCUMENTS
WE MIGHT BE HAVING TO SEARCH ELECTRONICALLY. I THINK

THAT YOU SHOULD GET A JUMP ON THAT.

 

 
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AND SAME ON THE PLAINTIFF'S SIDE.
NATURALLY, YOU MIGHT HAVE FEWER DOCUMENTS.
SO I'LL STAY DISCOVERY IN THE ACTIONS
PENDING HERE, PROVIDED, HOWEVER, THAT'S WITHOUT
PREJUDICE TO THE ABILITY OF ANY PARTY TO SEEK RELIEF
FROM THE STAY FOR GOOD CAUSE SHOWN.
AND IF -- IF DISCOVERY -- IF SUCH A
MOTION OR MOTIONS ARE FILED AT THAT TIME, I'LL
DETERMINE HOW TO PROCESS THEM, WHETHER THE MAGISTRATE
JUDGE WILL BE INVOLVED OR WHETHER I'LL HANDLE THEM
MYSELF. I DON'T KNOW YET BECAUSE I DON'T KNOW WHAT THE
ISSUES ARE.
JUST A MINUTE.
MR. BRIAN, IN TERMS OF -- ARE THERE ANY
OTHER ISSUES THAT YOU WANTED TO DISCUSS TODAY?
MR. BRIAN: NO, YOUR HONOR.
THE COURT: ANY OTHER ISSUES?
MR. FINE: NO, YOUR HONOR.
MR. CHAMBERS: NO, YOUR HONOR.
MR. KANNE: NO, YOUR HONOR.
THE COURT: AND, MR. KLAGER?
MR. KLAGER: NO, YOUR HONOR.
THE COURT: IN TERMS OF TRYING TO RESOLVE
THESE MATTERS, AGAIN, IT'S A SOMEWHAT -- IT COULD BE A

SOMEWHAT COMPLEX ISSUE, BUT YOU DID MENTION IN YOUR

 

 
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REPORT USING A PRIVATE NEUTRAL.
MR. BRIAN: I THINK WHAT WE SAID IN OUR REPORT
WAS THAT, IN LIGHT OF THE ISSUES UNDER THE SAFETY ACT,
WE DON'T SEE ANY REALISTIC SETTLEMENT IN THE NEAR
HORIZON.
PLUS, SETTLING -- EVEN IF WE DIDN'T HAVE
THE SAFETY ACT ISSUE, THE IDEA OF SETTLING ANY
INDIVIDUAL CASE IS NOT SOMETHING WE WOULD -- CAN DO.
THE COURT: OKAY. BUT AT SOME POINT, THERE
MAY BE, AFTER A DETERMINATION -- WELL, AS THE MATTER
PROGRESSES, THERE MAY BE A TIME WHERE SOME -- WHERE A
SETTLEMENT EFFORT MIGHT MAKE SENSE.
DO YOU DISAGREE WITH THAT?
MR. BRIAN: THERE ARE DISPOSITIVE MOTIONS
UNDER THE SAFETY ACT AND THEN ISSUES OF SUMMARY
JUDGMENT OR EVEN MOTIONS TO DISMISS OR JUDGMENT ON THE
PLEADINGS BASED ON FORESEEABILITY AND PROXIMATE
CAUSATION.
IF WE WERE TO COME OUT ON THE OTHER SIDE
OF THOSE, THEN IT MAY BE APPROPRIATE TO TALK ABOUT
SETTLEMENT. BUT I THINK IT IS PREMATURE AT THIS TIME,
YOUR HONOR.
THE COURT: WHAT ARE YOUR VIEWS?
MR. CHAMBERS: PLAINTIFF AGREES.

WE'RE ALWAYS OPEN TO SETTLEMENT, AS YOU

 

 
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KNOW. BUT AT THIS TIME WITH EVERYTHING PENDING, I
THINK IT WOULD BE PREMATURE TO EXPECT ANYTHING.

THE COURT: I DIDN'T MEAN TO DO IT RIGHT NOW.

MR. KANNE: I AGREE WITH THAT TOO.

THE COURT: AND, MR. KLAGER, ANY THOUGHT ON
THIS?

MR. KLAGER: NO. I'M NOT OPPOSED TO DOING IT
EITHER WAY. SOMETIMES CASES COULD BE -- SETTLEMENT
TALKS COULD HAPPEN BEFORE THOSE THINGS ARE RESOLVED OR
AFTER. BUT IF THEY MAINTAIN THAT THEY NEED TO DO THAT
FIRST, THEN SETTLEMENT TALKS, I GUESS, WOULD NOT BE
VERY FRUITFUL. 50 I LEAVE THAT TO THEM.

THE COURT: WHAT I'D LIKE YOU TO DO IS THIS:
TWO WEEKS IN ADVANCE OF THE OCTOBER HEARING, WHICH IS
OCTOBER 15, I'D LIKE YOU TO FILE A JOINT REPORT WITH
RESPECT TO THE FOLLOWING:

ONE, JUST ANY UPDATES THAT ANY -- ANY
UPDATES THAT ONE OR MORE PARTY THINK ARE NECESSARY IN
CONNECTION WITH THE SCHEDULING ISSUES THAT I'VE
DEFERRED UNTIL THAT TIME.
AND, SECOND -- I'VE ALREADY TALKED ABOUT

THE STATUS OF THE MDL. BUT, SECOND, WHAT SETTLEMENT --
THE TIMING OF A SETTLEMENT PROCESS, IF ANY, BASED ON
ANY DEVELOPMENTS BETWEEN NOW AND MID-OCTOBER.

AGAIN, MY QUESTION IS NOT FRAMED TO

 

 
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SUGGEST THAT YOU'RE GOING TO HAVE SETTLEMENT
DISCUSSIONS PRIOR TO THE RESOLUTION OF CERTAIN MOTIONS.
BUT I THINK IT WOULD BE USEFUL TO HAVE -- POTENTIALLY
TO DISCUSS A PROCEDURAL STRUCTURE UNDER WHICH
SETTLEMENT TALKS MIGHT OCCUR BASED ON WHAT YOU KNOW BY
MID-OCTOBER.
SO, FOR EXAMPLE -- YOU KNOW, FOR EXAMPLE,
IF THERE'S AN MDL PROCEEDING, YOU MAY WISH TO -- YOU
MAY THINK IT'S BEST TO CONDUCT SETTLEMENT DISCUSSIONS
IN CONNECTION WITH THE MDL PROCEEDING IN THAT
PROCEEDING. I JUST HAVE IN MIND A STRUCTURE, NOT THAT
YOU WOULD BE SUGGESTING A PARTICULAR DATE.
AND I THINK THAT WOULD ALSO INVITE YOU TO
DISCUSS SOME PRIVATE NEUTRALS ON WHOM YOU MIGHT AGREE,
IF YOU ULTIMATELY CONCLUDE TO ENTER INTO SOME FORM OF
SETTLEMENT DISCUSSIONS.
I DON'T THINK THAT'S -- ANYWAY, MY
REQUEST ~- WHAT I HAVE IN MIND IS NOT INTENDED TO BE
VERY BURDENSOME. I JUST WANT AN UPDATE.
MR. BRIAN: WE UNDERSTAND, YOUR HONOR.
THE COURT: ANYTHING ELSE?
MR. KANNE: NO, YOUR HONOR.
MR. BRIAN: NOT FROM THE MGM DEFENDANTS, YOUR
HONOR.

MR. FINE: NO, YOUR HONOR.

 

 
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THE COURT: THANK YOU FOR YOUR HELP TODAY.
MR. BRIAN: THANK YOU, YOUR HONOR.

(END OF PROCEEDINGS)

 

 

 
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CERTIFICATE OF OFFICIAL REPORTER

COUNTY OF LOS ANGELES )

STATE OF CALIFORNIA )

I, ALEXANDER T. JOKO, FEDERAL OFFICIAL
COURT REPORTER, IN AND FOR THE UNITED STATES DISTRICT
COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA, DO HEREBY
CERTIFY THAT PURSUANT TO SECTION 753, TITLE 28, UNITED
STATES CODE, THAT THE FOREGOING IS A TRUE AND CORRECT
TRANSCRIPT OF THE STENOGRAPHICALLY REPORTED PROCEEDINGS
HELD IN THE ABOVE-ENTITLED MATTER, AND THAT THE
TRANSCRIPT PAGE FORMAT IS IN CONFORMANCE WITH THE
REGULATIONS OF THE JUDICIAL CONFERENCE OF THE UNITED
STATES.

DATE: JULY 18, 2018

/S/ ALEXANDER T. JOKO

 

ALEXANDER T. JOKO, CSR NO. 12272
FEDERAL OFFICIAL COURT REPORTER

 

 
